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July 3, 2025
VIA ECF
Hon. Harvey Bartle III
U.S.D.C., District of New Jersey (by appointment)

        Re:       Atlas Data, et al., v. Innovis Data Solutions, Inc. (D.N.J. 1:24-cv-04176)

        Dear Judge Bartle:

       I am writing to ask the Court to consider rescheduling the oral argument in the subject
matter and related matters, on whether Daniel’s Law is preempted by certain federal laws. The
Court issued an Order this morning, at ECF 69, which scheduled the oral argument on Monday,
August 11, 2025 at 10:00 AM in the Court’s Camden, NJ courthouse.

      I have a pre-paid vacation with my family (my wife, four kids, and me) from Saturday,
August 9, 2025 to Saturday, August 16, 2025 in South Haven, Michigan. I should have informed
the Court of this earlier, but due to the press of other business – today is my last day at my
current firm; I will be filing a change of address from the new firm next week – I failed to do so.

       If it is possible to schedule the hearing such that it does not overlap with my family’s pre-
existing and pre-paid vacation, I would be very grateful. I understand that the Court may not
be able to honor this request, and that honoring it may cause inconvenience to the Court or the
other parties’ counsel, and I will respect the Court’s decision.

                                                                  Cordially,




                                                                  Jason A. Spak (counsel for Innovis Data
                                                                  Solutions, Inc.)

cc:     Counsel for all parties (via ECF)




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